             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                       1:20 CV 213 MR WCM

KATHERINE DROLETT,                               )
                                                 )
                        Plaintiff,               )
                                                 )            ORDER
v.                                               )
                                                 )
ANTHONY BRIAN ROBINSON,                          )
ONESPA WORLD RESORT SPAS (NORTH                  )
CAROLINA), INC. doing business as                )
Mandara Spa                                      )
                                                 )
                      Defendants.                )
__________________________________               )

      This matter is before the undersigned following the submission a

Certification and Report of Fed. R. Civ. P. 26(f) Conference and Discovery Plan

(the “Report,” Doc. 14) filed by the parties. An initial pretrial conference was

held by telephone on October 9, 2020 during which case management issues

were discussed. Andrew C. Avram and Winston S. Kirby participated on behalf

of Plaintiff Katherine Drolett (“Plaintiff”), Elizabeth E. McConnell participated

on behalf of Defendant Anthony Brian Robinson (“Robinson”), and Heather

Call Fuller and Sara R. Lincoln participated on behalf of Defendant

OneSpaWorld Resort Spas (North Carolina), Inc. doing business as Mandara

Spa (the “Spa”).




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      Although the parties proposed pretrial deadlines in their Report, and

indicated generally during the pretrial conference that they could proceed with

discovery at this time, Local Civil Rule 16.1(f) provides that “Court-enforceable

discovery does not commence until issues have joined and a Scheduling Order

has been entered….” See also LCvR 26.1. “[J]oinder of the issues” for purposes

of the Local Rules “occurs when the final answer to a complaint, third-party

complaint, or crossclaim or the final reply to a counterclaim has been filed, or

the time for doing so has expired.” LCvR 16.1(d). “Where Rule 12 motions are

filed and briefed, issues will not join until the Court resolves such motions.

Where a party files a motion to dismiss fewer than all claims and files an

Answer as to the remaining claims, the Court in its discretion may consider

issues joined.” Id.

      Here, Defendant Robinson has filed an Answer, Motion to Dismiss

Plaintiff’s Complaint and Motion to Strike an Answer. See Doc. 10. Briefs were

not submitted in support of the motions contained in Robinson’s answer.

However, during the initial pretrial conference, counsel stated that Robinson

also planned to file a Motion to Strike and such a motion and a supporting

memorandum were in fact filed on October 14, 2020. Docs. 14, 15.

      The Spa has filed a Motion to Strike pursuant to FRCP 12(f) seeking to

strike some of the factual allegations set out in Plaintiff’s Complaint, Doc. 12,

but it has not filed an answer.

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     Accordingly, under this Court’s local rules, issues have not been joined

and entry of a Scheduling Order would be premature. Therefore, the

undersigned will defer entering a Scheduling Order pending the filing of the

Spa’s answer.


                                  Signed: October 19, 2020




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